                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


PHIL BERGER, et al.

             Plaintiffs,

              v.                                   Case No. 1:16-cv-00844-TDS-JEP

UNITED STATES DEPARTMENT OF
JUSTICE, et al.,

             Defendants.


                       NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the Plaintiffs in Berger

v. United States Department of Justice, et al., No.1:16CV844 (“Berger”), voluntarily

dismiss their action without prejudice, and state as follows.

       1. Since the filing of the Berger complaint on May 9, 2016, the Defendants have

not served an answer or a motion for summary judgment.

       2. On July 22, 2016, the parties in Berger filed a joint notice stating that the

Plaintiffs “agree to voluntarily dismiss their complaint, in view of the fact that, as

intervenor-defendants, they are pursuing the same claims and relief via counter-claims in

United States of America v. North Carolina, et al., No. 1:16CV425.” Doc. #106, at 2-3.

The joint notice further stated that “[t]he United States reserves the right to seek dismissal

of the intervenor-defendants’ counter-claims on all grounds other than on the grounds




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that the counter-claims are duplicative of the claims for relief sought by the United

States.” Id. at 3.

       3.     Consequently, the Plaintiffs hereby voluntarily dismiss the Berger action

without prejudice.

       Respectfully Submitted, this 28th day of July, 2016,

/s/ S. Kyle Duncan                               /s/ Robert D. Potter, Jr.
S. KYLE DUNCAN*                                  ROBERT D. POTTER, JR.
GENE C. SCHAERR*                                 ATTORNEY AT LAW
SCHAERR | DUNCAN LLP                             2820 Selwyn Avenue, #840
1717 K Street NW, Suite 900                      Charlotte, NC 28209
Washington, DC 20006                             704-552-7742
202-714-9492                                     E-mail: rdpotter@rdpotterlaw.com
571-730-4429 (fax)                               NC Bar No. 17553
E-mail: kduncan@schaerr-duncan.com
DC Bar No. 1010452
E-mail: gschaerr@schaerr-duncan.com
DC Bar No. 416638
*appearing pursuant to Local Rule 83.1(d)

                     Attorneys for Plaintiffs Phil Berger and Tim Moore




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                               CERTIFICATE OF SERVICE

         I certify that on July 28, 2016, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notice of electronic filing to all

registered parties.



Dated:     July 28, 2016                           /s/ S. Kyle Duncan
                                                   S. KYLE DUNCAN
                                                   SCHAERR | DUNCAN LLP
                                                   1717 K Street NW, Suite 900
                                                   Washington, DC 20006
                                                   202-714-9492
                                                   571-730-4429 (fax)
                                                   E-mail: kduncan@schaerr-duncan.com




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